                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


DEMETRIA POWELL, as guardian ad litem and                   )
on behalf of her son D.P; TANYA REESE, as                   )
guardian ad litem and on behalf of her son                  )
M.R.; and TYWANNA PATRICK, as guardian ad                   )
litem and on behalf of her granddaughter J.C., as           )
well as on behalf of a class of similarly situated          )
children,                                                   )
                                                            )
        Plaintiffs,                                         )
                                                            )
                v.                                          )       No. 18-cv-6675
                                                            )
THE STATE OF ILLINOIS; THE ILLINOIS                         )
DEPARTMENT OF STATE POLICE; BRUCE                           )
RAUNER, Governor of the State of Illinois; and              )
LEO P. SCHMITZ, Director of the Illinois                    )
Department of State Police,                                 )
                                                            )
        Defendants.                                         )


                               CLASS ACTION COMPLAINT

                                       INTRODUCTION

        1. Thousands of African-American children in Chicago have endured an epidemic of gun

violence for years. Many have been shot, while others have been traumatized when their family

members, classmates, and neighbors have been gunned down. The gun violence is not episodic

but ongoing, and concentrated in particular African-American neighborhoods. This lawsuit is

brought by these children and seeks declaratory and injunctive relief to limit the number of guns

flowing into Chicago, and thereby limit the gun violence to which these children are exposed,

which is causing them to develop post-traumatic stress disorder and other forms of trauma-

related disability.


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        2. Forty per cent (40%) of the guns being used in gun-related crime in Chicago are

purchased at gun stores in Illinois, most in suburbs nearby Chicago. Seven gun shops provide

most of these weapons. Under current law, and without cost, the Illinois Department of State

Police can adopt reasonable regulations that would curtail the gun trafficking by these gun shops,

and thereby reduce the gun violence in Chicago, and in turn reduce the terrible effect such gun

violence has on the African-American children bringing this case.

        3. The defendants’ failure to adopt these reasonable regulations constitutes a violation of

Title II of the ADA, in that they are failing to offer a reasonable accommodation for the

disabilities these plaintiff children suffer and a violation of the Illinois Civil Rights Act, in that

the ongoing gun violence, which defendants can curb, has an adverse impact on these African-

American children, thus violating their civil rights.

                                           THE PARTIES

                                            The Plaintiffs

        4. Demetria Powell is a twenty-seven year old resident of the Austin neighborhood in

Chicago. She works at the United States Postal Service, and has two children, the plaintiff D.P.,

now eight years old and M.P, now two years old. The father of D.P. and M.P. was shot and killed

in the West Garfield Park neighborhood of Chicago on January 30, 2016. D.P., then in

kindergarten, was present at the murder scene and saw his father’s bullet-riddled body. D.P. has

experienced enduring gun violence, including the murder of a Chicago Public School employee

at his school later in the spring of 2016, the killing of an older classmate in the spring of 2017,

and the wounding of other classmates. During the first six months of 2018 alone, there were

three non-fatal shootings and one fatal shooting within a two block radius of his home in the

Austin neighborhood. Gun shots can be heard most nights on the block where he lives. He has


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been diagnosed with post-traumatic stress disorder (“PTSD”), to which his exposure to gun

violence has significantly contributed. Demetria Powell brings this case on behalf of her son D.P.

as guardian ad litem under Fed. R. Civ. Proc. 17(c).

       5. Tanya Reese is a forty seven-year old resident of Oak Park, Illinois, who formerly

lived in the Austin neighborhood of Chicago. She works for a catering company in Chicago. Her

children include plaintiff M.R. who is now sixteen years old. On August 5, 2015, Ms. Reese’s

oldest son, Pierre Reese, was shot and killed in the Austin neighborhood of Chicago, after

mistakenly identifying a young man as a girl. M.R. was particularly close to his older brother,

and his killing traumatized M.R. Gun violence remained a regular part of M.R.’s life after his

brother was killed, as there have been four non-fatal shootings and one fatal shooting within

three blocks of his old Austin address just during the first six months of 2018 and this rate of gun

violence has been consistent on the block where he lived since at least 2014. While living in

Austin, M.R. regularly heard gun shots at night. He was placed at the Mercy Home for two years

because of the trauma inflicted on him. M.R. has been diagnosed with PTSD, to which the killing

of his brother and his exposure to other gun violence has significantly contributed. Tanya Reese

brings this case on behalf of her son M.R. as guardian ad litem under Fed. R. Civ. Proc. 17(c).

       6. Tywanna Patrick lives on the Near West Side of Chicago. She owns and operates an

African beauty and wellness store at 5823 W. Corcoran Place, in the Austin neighborhood of

Chicago. She is the grandmother of eleven-year old plaintiff J.C. On July 6, 2014, Ms. Patrick’s

twenty-one year old son, Donald Joshua Ray, was shot and killed in the Austin neighborhood of

Chicago. Plaintiff J.C. was then seven years old and going into the second grade. She was very

close to her uncle, Mr. Ray. J.C. was present at Ms. Patrick’s Austin shop when the police

arrived to inform the family that Mr. Ray had been shot and killed. He was killed while


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protecting a young woman who was being harassed by young men. At the time of Mr. Ray’s

murder, J.C. lived in the Austin neighborhood of Chicago. She has recently moved to Bellwood,

Illinois. J.C. experienced gun violence on a regular basis, even after her uncle was murdered.

Four non-fatal shootings and one fatal shooting occurred within three blocks of her former home

in Austin during the first six months of 2018 alone. The level of gun violence near her home has

been consistent since 2014. J.C. heard gun shots most nights at her home in the Austin

neighborhood. J.C. has been diagnosed with PTSD, to which her exposure to gun violence has

significantly contributed. Tywanna Patrick brings this case as guardian ad litem on behalf of her

granddaughter under Fed. R. Civ. Proc. 17(c).

       7. Pursuant to Fed. R. Civ. Proc. 23(b)(2), the plaintiffs bring this action for declaratory

and injunctive relief on behalf of their minor children or grandchild and on behalf of a class of

similarly situated children defined as:

               All African-American children under the age of eighteen who live or lived
               in the City of Chicago and are: 1) disabled under the terms of the ADA on
               account of their exposure to gun violence; or 2) at risk of becoming disabled by
               their
               exposure to gun violence.


       8. The plaintiff class satisfies the requirements of Fed. R. Civ. Proc. 23(a), in that:

       (a) The class is so numerous that joinder of all members is impracticable as gun violence

in Chicago is at an epidemic level. Since January 1, 2015, 2,231 persons have been killed in

Chicago. 90% died by gun shots. During the same period, 7,971 persons were shot. About 80%

of the homicide and shooting victims in Chicago are African-American. At least 20% of these

shootings involve teen-agers or younger children. Two-thirds of all minors who have been shot

suffer from post-traumatic stress disorder, and thousands of African-American children in



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Chicago who have experienced gun violence but not been shot also have PTSD or trauma-related

disabilities.

        (b) There are questions of law and fact common to the class. These include whether

African-American children in Chicago are disabled, within the meaning of the ADA, by their

exposure to gun violence; whether the State of Illinois, as the party responsible for their

education, has provided a reasonable accommodation for their disability; and whether the State

has effectively discriminated against disabled African-American children, in terms of their

educational opportunity, by failing to limit the flow of guns onto Chicago’s streets.

        (c) The claims of the named plaintiffs are typical of the claims of the class, as they

represent Chicago, African-American children traumatized and disabled by gun violence, for

whom no reasonable accommodation and no meaningful remedy has been provided.

        (d) The named plaintiffs will fairly and adequately protect the interests of the class. The

named plaintiffs have no interests antagonistic to the class. The named plaintiffs seek declaratory

and injunctive relief on behalf of the entire class to remedy injuries to all class members.

Counsel for the plaintiffs are competent and experienced in class action and civil rights litigation.

        9. The plaintiff class satisfies the requirements of Fed. R. Civ. Proc. 23(b)(2) because the

defendants have acted on grounds that apply generally to the class, so final injunctive relief and

corresponding declaratory relief is appropriate with respect to the class.



                                          The Defendants

        10. The defendant State of Illinois is a “public entity” within the meaning of Title II of

the Americans with Disabilities Act (“ADA”), 42 U.S.C. §12131(1)(A), and a “State” within the

meaning of Section 5 of the Illinois Civil Rights Act of 2003, 740 ILCS 23/5.


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       11. The defendant Illinois Department of State Police is also a “public entity” within the

meaning of Title II of the ADA, 42 U.S.C. §12131(1)(B), and a unit of the State within the

meaning of Section 5 of the Illinois Civil Rights Act of 2003, 740 ILCS 23/5.

       12. The defendant Bruce Rauner is the Governor of the State of Illinois, and responsible

for the policies implemented by the defendant State of Illinois.

       13. The defendant Leo P. Schmitz is the Director of the Illinois Department of State

Police and, under the direction of defendant Rauner, is responsible for the policies implemented

by the State Police.

                                      Jurisdiction and Venue

       14. This Court has jurisdiction over this matter pursuant to 28 U.S.C. §1331 and 1343,

and because of its supplemental jurisdiction over the related state law claim.

       15. Venue is proper in the Northern District of Illinois, as all of the plaintiffs and

defendants are residents of the Northern District of Illinois, and the events and omissions giving

rise to all of the claims alleged occurred in the Northern District of Illinois.

                                   FACTUAL ALLEGATIONS

                                Chicago Is Awash In Gun Violence

       16. During the young lives of the plaintiffs bringing this case, they have experienced

unremitting gun violence in the neighborhoods where they live or lived. Chicago Police

Department and University of Chicago Crime Lab studies document that from January 1, 2015

through June 30, 2018, two thousand two-hundred thirty-one (2,231) people were murdered.

Ninety percent of these murders were by gunshots. Chicago has more gun-related homicides than

any other major U.S. city. From January 1, 2015 through July 31, 2018, seven thousand nine-

hundred seventy-one (7,971) people were shot in Chicago–about one shooting victim every 2.5


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hours. Nearly 20% of homicide victims are teenagers or younger in Chicago. During the first six

months of 2018, sixty-one (61) children age 15 or younger were shot, which is about the same

number as in the two preceding years.

       17. This gun violence most dramatically afflicts the African-American community in

Chicago, and particularly the neighborhoods of Austin, Englewood, West Englewood, New City

and Grand Crossing (“the communities of concentrated gun violence”). In 2015-2016, according

to the University of Chicago Crime Lab, eighty (80)% of Chicago homicide victims were

African-American, though African-Americans comprise only about one-third of the city’s

population. Eighty (80)% of homicide victims continue to be African-American when one looks

only at killings during the first seven months of 2018. African-American men aged fifteen (15) to

thirty-four (34) made up more than one-half of the city’s homicide victims during this same

period, while accounting for just four (4) percent of the city’s population. Despite having only

nine (9)% of Chicago’s population, the African-American neighborhoods of Austin, Englewood,

West Englewood, New City and Grand Crossing, accounted for almost one-third of homicides in

2016, and this pattern has continued. The national homicide rate is about 5 per 100,000 persons

across the whole country. In the Austin neighborhood of Chicago, in 2016, the homicide rate was

87.3 per 100,000 persons, according to the University of Chicago Crime Lab. In Englewood, the

homicide rate was 179.5 per 100,000 persons; in West Englewood, it was 105 per 100,000

persons; in New City, it was 98.6 per 100,000 persons and in Grand Crossing it was 103.5 per

100,000. These five neighborhoods have the most death by gun violence of any neighborhoods in

Chicago. They are African-American neighborhoods. Five of the next six deadliest

neighborhoods are also African-American. By comparison, the white Chicago neighborhoods of

Lincoln Park, North Center, Edison Park, Forest Glen, North Park, Hegewisch, Beverly and


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Mount Greenwood had no homicides in 2015 or 2016, and the white neighborhoods of Lake

View, Lincoln Square, Jefferson Park, Calumet Heights, Edgewater, Montclare, O’Hare,

Dunning, and Norwood Park had two or fewer murders during this two-year period, with a zero

or negligible homicide rate. This disparate impact of gun violence has continued through to the

present day.

       18. Gun murders and shootings are, however, only the tip of the gun violence iceberg in

Chicago. The plaintiffs and those who live or have lived in Chicago’s African-American

communities, particularly the communities of concentrated gun violence, hear gun fire most

nights, while in their homes or walking the streets. No one knows how many guns are in

Chicago, but Chicago police recover guns at a per capita rate that is six times the number of guns

recovered in New York City. Since 2011, Chicago police have recovered about seven thousand

(7,000) “crime guns” from the streets of Chicago every year (not counting guns recovered

through turn-in and buy-back programs). “Crime guns” are firearms that were illegally

possessed, used or suspected to have been used in furtherance of a crime. The University of

Chicago Crime Lab has documented that increasing numbers of the guns recovered are 9

millimeter (nearly 30% of the guns in 2016) and .40 caliber handguns (about 13% of the guns)

which accommodate larger-diameter ammunition and support higher capacity magazines, and are

thus more powerful than .22 caliber handguns.

                A Substantial Number of the “Crime Guns” Used in Chicago
                          Come from Chicago Area Gun Dealers

       19. Chicago has no licensed gun dealers, but according to the Chicago Police

Department, 40.4 % of the “crime guns” recovered on Chicago streets every year, from 2009

through 2016, were purchased from federally-licensed gun dealers in Illinois. This figure has not



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changed materially in 2017 and 2018. Seven of the stores selling the most guns used in Chicago

shootings are located in Illinois (with the remainder located nearby in Indiana). These Illinois

gun dealers are:

                              Chuck’s Gun Shop in Riverdale, IL
                              Midwest Sporting Goods in Lyons, IL
                              Shore Galleries in Lincolnwood, IL
                              GAT Guns in East Dundee, IL
                              Suburban Sporting Goods in Melrose Park, IL
                              Pelcher’s Shooter Supply in Lansing, IL
                              Sporting Arms & Supply in Posen, IL

Large numbers of guns purchased from these dealers were used in crimes within one year of their

purchase. So, Suburban Sporting Goods in Melrose Park, IL sold 85 guns used in Chicago crimes

in 2016 alone, and 46% of these guns were sold less than a year before their use in these crimes.

68% of the “crime guns” sold were used by criminals within three years of purchase. Chuck’s

Gun Shop in Riverdale, IL sold 997 “crime guns” during the period 2013-2016, and 21% of their

guns were used in Chicago crimes within one year. Ninety-two percent of the “crime guns” sold

by these stores are handguns1.

       20. During the 2013-2016 period, federally-licensed gun dealers in Illinois reported that

1,200 guns were lost or stolen from these dealers prior to any sale. This includes burglaries and

robberies, which are increasing at an alarming rate. Burglaries at these stores tripled between

2015 and 2016. The federal Bureau of Alcohol, Tobacco, Firearms and Explosives (“ATF”) has

found that these stolen guns are almost assuredly destined for criminal use in the immediate area

of the theft. Chuck’s Gun Shop alone reported 43 guns stolen between 2013 and 2016.


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          Only 3-5% of “crime guns” have their serial numbers obliterated, making it impossible
to trace them back to their original purchase, according to Cook, et al., “Sources of Crime Guns
in Chicago”, Journal of Criminal Law & Criminology, Vol. 104, No. 4: 717-759, at 725 (2015)
(hereafter “Cook, at ___ (2015)).


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          The State of Illinois Has Failed To Implement Meaningful Regulation of
              Gun Trafficking in Illinois, Despite Ample Authority to Do So

       21. Illinois gun dealers, including those identified in par. 19 above, must be licensed by

the ATF. The ATF, however, does little to monitor or control the sale of guns in these stores, or

to prevent the loss or theft of guns, though every sale of a gun requires the purchaser to complete

ATF form 4473. Since 1986, absent a warrant, Congress has prevented ATF from conducting

gun dealer inspections, other than during one annual inspection. However, the United States

Inspector General found in 2004 that because of a lack of resources, the ATF was able to do

annual inspections at only 5% of the more than 50,000 federally licensed gun stores. This

inability to police these gun stores has continued into 2018. Federal law also prohibits ATF from

requiring federally-licensed gun dealers to submit to regular firearm inventory inspections. As

such, there is no effective monitoring of gun sales or inventory at the federal level.

       22. Local villages and towns have done little, by way of ordinance, to limit the sales of

gun dealers or prevent the theft or loss of guns. Nor is there any meaningful enforcement of these

ordinances. Indeed, only fifty-three (53) of Illinois’ one thousand two-hundred ninety-nine

(1,299) municipalities have adopted any kind of gun dealer/trafficking ordinance, and most

require nothing more than the documentation of sales, as required by state law. Those

municipalities with stricter ordinances like Chicago and Oak Park have no gun dealerships or

gun shows.

       23. As a matter of law, the regulation of gun trafficking in Illinois is a state matter, over

which the State of Illinois has claimed preemption, 430 ILCS 65/13.1. The only way to limit the

flow of “crime guns” from Illinois gun dealers into the City of Chicago is for the State of Illinois

and its Department of State Police (“the State Police”) to exercise the authority the state



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legislature has provided, and both adopt and enforce meaningful rules on the trafficking and

storage of guns.

       24. Under current law, the State Police are charged with administering the Firearm

Owners Identification Card Act, 20 ILCS 2605/2605-10 and 2605-120. The Firearm Owners

Identification Card Act (“the FOID Act”), 430 ILCS 65/2, makes it unlawful for anyone to

possess a firearm in Illinois unless they have been screened and found eligible for a FOID card.

430 ILCS 65/3 prohibits the sale of any firearm or firearm ammunition to any person in the state

who does not hold a valid Firearm Owners Identification Card (“FOID card”) or a valid

concealed carry permit. This prohibition applies to federally-licensed firearm dealers, 430 ILCS

65/3(a)(1), and to any sale by someone who is not a federally-licensed firearm dealer, i.e. a sale

in what is customarily referred to as the secondary gun market, either at a gun show, 430 ILCS

65/3(a-5), or through a private sale, 430 ILCS 65/3(a-10). The State Police provide a call-in

process so that gun sellers may check to determine if the purchaser has a valid FOID card, and

this entails a background check as well, 430 ILCS 65/3.1.

       25. The State Police have broad authority to adopt regulations to implement and enforce

this scheme, and to prevent the possession of guns by persons who have not been screened and

who do not have a FOID card. The State Police have regulatory authority to prevent guns from

being sold unlawfully at federally-licensed gun shops, and on the secondary gun market, as well

as to prevent guns from being lost or stolen from gun dealers or private citizens. 20 ILCS

2605/2605-15 grants such regulatory authority to the State Police for the administration of any

powers and duties bestowed upon the agency by any provision of law. 20 ILCS 65/3 (a-10)

underscores this duty with respect to the FOID card licensing system in the secondary market,

and 20 ILCS 65/3.1(f) provides express authority to adopt regulations and rules pertaining to the


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FOID background check system.

       26. The State Police, however, have never adopted regulations that meaningfully keep

guns out of the hands of non-licensed persons. The agency has never developed regulations to

license Illinois gun dealers. Nor have the State Police adopted regulations that would make the

FOID permit and background check system a meaningful barrier to the purchase of “crime guns”

either in the primary market, i.e. at federally-licensed gun stores, or in the secondary market.

Further, the State Police have made no attempt meaningfully to enforce their statutory

responsibilities, through inspection, monitoring and policing gun dealers or the secondary gun

market. As a result, federally-licensed gun dealers continue, year after year, to supply guns that

fuel the epidemic of gun violence taking place in African-American neighborhoods of Chicago,

either directly or through the secondary market, where the large majority of “crime guns”

recovered by Chicago police were purchased.

       27. Many studies have concluded that meaningful regulation of the primary and

secondary gun markets, as set forth in par. 28 below, will reduce the number of guns available in

cities like Chicago, and thereby reduce the number of African-Americans killed or shot, and

most importantly reduce the debilitating level of gun violence that has led to the disability of the

plaintiff children and similarly situated children. These include: Webster, Vernick, Bulzacchelli

& Vittes, “Recent Federal Gun Laws, Gun Dealer Accountability and the Diversion of Guns to

Criminals in Milwaukee”, Journal of Urban Health Vol. 89:87-97 (2012); Irvin, Rhodes, Cheney

& Wiebe, “Evaluating the Effect of State Regulation of Federally Licensed Firearm Dealers on

Firearm Homicide”, Am. Journal of Pub. Health, Vol. 104(8): 1384-1386 (2014); and the City of

Chicago’s Gun Trace Report, 2017 (2017),

https://www.cityofchicago.org/content/dam/city/depts/mayor/Press%20Room/Press%20Releases


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/2017/October/GTR2017.pdf.

       28. Without any change in Illinois law, and without any cost to the State of Illinois, the

State Police can today, consistently with their duty to administer the statutory provisions set out

in pars. 23-25 above, impose on all federally-licensed Illinois gun dealers and gun show

promoters mandatory obligations:

       A. To conduct and provide verification of background checks on all gun store and gun
       show employees to make sure they can pass the same background checks as gun
       purchasers before they handle and sell guns at the stores or at gun shows;

       B. To install video recording systems to film the point of sale to discourage traffickers
       and buyers using false identification, or purchasing multiple guns, and assist law
       enforcement officers in identifying straw purchasers of “crime guns”;

       C. To not sell or transfer a gun to any person whom the gun dealer or gun show promoter
       knows, or reasonably should know, is acquiring the gun not for his or her own use but for
       the purpose of transferring it to another, including persons who could not legally obtain
       the gun;

       D. To maintain an alphabetical log of all gun sales where the gun was later recovered in
       connection with a crime, such that the purchaser of the “crime gun” will be denied the
       right to purchase another gun, unless and until such purchaser demonstrates that he or she
       has transferred the original gun in accordance with the provisions of 430 ILCS 65/3 or
       provided a complete report of the loss or theft of such gun to local law enforcement, in
       compliance with 720 ILCS 5/24-4.1, and such regulation shall further construe 720 ILCS
       5/24-4.1 to presume that gun owners are on notice of the loss or theft of their gun within
       sixty days of the actual loss or theft of the gun;

       E. To train employees and managers of gun shops and gun shows to identify common
       signs of straw purchasing to avoid gun trafficking, using state-wide standards developed
       by the State Police;

       F. To take possession of FOID cards that have been suspended or revoked but not
       returned by the owner, and develop systems for recovery of such FOID cards independent
       of gun dealers and gun shows, as only 30% of revoked FOID cards are returned
       presently, according to the an audit by the Office of the Auditor General of Illinois;

       G. To provide the State Police with a safety plan, which must be approved by local law
       enforcement, before the store or gun show may open, which (for stores) must be
       examined yearly thereafter for compliance, in order to prevent the theft and loss of guns,
       as over 16,000 guns are reported lost or stolen each year from licensed gun dealers,


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       according to the ATF’s minimal inspections. Such plans must require adequate exterior
       lighting, surveillance cameras, alarm systems and other reasonable measures, and further
       address the safe storage of weapons and ammunition, as well as fire hazards;

       H.. To submit to a mandatory, at least quarterly, audit of the store’s inventory to help
       detect theft and trafficking, to be conducted by local law enforcement;

       I. To prohibit the sale of guns “off the books”, i.e. that cannot be supported by
       contemporaneous paperwork which shows compliance with ATF rules (a completed ATF
       4473 form) and compliance with 430 ILCS 65/3, which accounted for 5.5% of all
       Chicago crime guns between 2009-2013, (Cook, at 745 (2015);

       J. To participate in the implementation of a State Police firearms registration system to
       track lawful firearm transfers (from federally-licensed gun dealers, gun shows, and
       private sellers), which will assist in tracking “crime guns” to their original point of sale;

       K. To comply with the foregoing provisions as a condition of doing business; and

       L. To prohibit the establishment of any new gun dealership with the stockholders or
       principals of a gun dealer whose state license to operate has been revoked for failure to
       follow federal law, Illinois law, or State Police regulations.
The State Police’s failure to adopt these needed regulations has caused more guns to flow onto

Chicago’s streets and has directly caused more African-Americans to be killed, shot and exposed

to gun violence in Chicago. The City of Chicago, in two reports (“Gun Trace Report: 2017",

https://www.cityofchicago.org/content/dam/city/depts/mayor/Press%20Room/Press%20Releases

/2017/October/GTR2017.pdf; and “Tracing the Guns: The Impact of Illegal Guns on Violence in

Chicago” (May 27, 2014),

https://www.cityofchicago.org/content/dam/city/depts/mayor/Press%20Room/Press%20Releases

/2014/May/05.27.14TracingGuns.pdf., as well as Chicago’s Superintendent of Police,

recommend the adoption of these or similar regulations in order to stem the flow of guns into

Chicago2.


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          Near the end of 2015, the City of Lyons, Illinois adopted an ordinance which placed
restrictions on licensed gun dealers–specifically, Midwest Sporting Goods. The restrictions
include some of those the defendants have authority to issue, as identified in par. 28 herein. At p.


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        The Pervasive Gun Violence in Chicago’s African-American Neighborhoods
        Has Caused Thousands of African-American Children to Become Disabled
                                   Under the ADA

        29. The unending gun violence in Chicago has left thousands of African-Americans,

including children, dead and wounded, with deep psychological scarring. But this pervasive gun

violence also has a dramatic effect on those African-American children exposed to such violence

who have not been shot, like the plaintiffs in this case. They are far larger in number than those

who have been killed and maimed.

        30. The ADA defines a disability as “a physical or mental impairment that substantially

limits one or more major life activities of such individual”, 42 U.S.C. §12102(1)(A). Major life

activities then “include, but are not limited to, caring for oneself, performing manual tasks,

seeing, hearing, eating, sleeping, walking, standing, lifting, bending, speaking, breathing,

learning, reading, concentrating, thinking, communicating, and working”, 42 U.S.C.

§12102(2)(A) (emphasis supplied).

        31. It is well-established among physicians, trauma specialists and educators, as well as

in the scientific, peer-reviewed literature, that when a child, particularly a young child, is

exposed to gun violence, there is a dramatic and lasting impairment of the child’s basic life

activities. This includes deficits in the child’s ability to care for himself or herself, the child’s

sleep, reading abilities, learning capacity, concentration, thinking and communication. As a

result of these deficits, gun violence directly undermines the child’s academic performance and

his or her educational opportunities.

        32. Many studies have found that children directly or indirectly exposed to community


7 of its 2017 Gun Trace Report, the City of Chicago took note that while still too early to
conduct a meaningful study, there is already an “encouraging” decline in the recovery of crime


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violence, most often gun violence, develop acute or post-traumatic stress disorder, including

disrupted sleep, anxiety and fear, as well as reduced awareness and difficulty with concentration,

thinking and memory, all of which impair cognitive functioning. Exposure to gun violence

floods a child’s body with stress hormones (adrenaline and cortisol) which independently

undermine cognitive performance by compromising the function of the prefrontal cortex of the

brain (the area of the brain that is most rapidly developing in adolescence). This portion of the

brain is responsible for reflective self-regulation and sustained attention, thus inhibiting the

child’s memory, ability to sustain concentration and brain development. The child’s analytical

capacities (or executive function) tends to disintegrate, leaving the child disorganized cognitively

and emotionally, and thus prone to react in school with extreme helplessness, confusion,

withdrawal, or rage3. The more directly the child experiences gun violence and the more often it

happens, the more enduring and permanent are his or her deficits. This literature is summarized

in many places, including by the Violence Policy Center, “The Relationship Between

Community Violence and Trauma: How Violence Affects Learning, Health and Behavior”,

(July, 20017), www.vpc.org; by Sharkey, “The Long Reach of Violence: A Broader Perspective

on Data, Theory, and Evidence on the Prevalence and Consequences of Exposure to Violence”,

Annual Review of Criminology, Vol. 1:85-102 (January, 2018); and by Cook, et al. “Complex

Trauma in Children and Adolescents”, Psychiatric Annals, Vol. 35(5): 390-398 (2005).

       33. For twenty years, research has shown that exposure to gun violence negatively affects


guns traceable to Midwest Sporting Goods since adoption of the ordinance.
        3
          A recent study of 82 children aged 11-18 documented that cortisol levels in these
children increased 111% the day after exposure to nearby gun violence, indicating extreme levels
of stress, which has a dramatic effect on the child’s ability to sleep, among other things. Heissel,
“Violence and Vigilance: The Acute Effects of Community Violent Crime on Sleep and
Cortisol”, Child Development, Vol. 89(4):e323-e331 (July, 2018).


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a range of developmental outcomes across social-emotional, behavioral, and cognitive domains.

See, e.g. Bingenheimer, et al., “Firearm Violence Exposure and Serious Violent Behavior”,

Science, Vol. 308:1323-26 (2005); and Osofsky, “The Impact of Violence on Children”, Future

of Children, Vol. 9:33-49 (1999). It has also consistently shown that exposure to gun violence

and other forms of violence are associated with lower performance on assessments of reading,

cognitive skills, grade point average, and school attendance. See, e.g. Bowen, et al., “Effects of

Crime and Violence in Neighborhoods and Schools on the Social Behavior and Performance of

Adolescents”, Journal of Adolescent Research, Vol. 14:319-42 (1999) and Delaney-Black, et al.,

“Violence Exposure, Trauma and IQ and/or Reading Deficits among Urban Children”, Archives

of Pediatrics and Adolescent Medicine, Vol. 156: 280-85 (2002).

       34. In Chicago, there have been many studies linking exposure to gun violence directly to

deficits in academic performance by African-American children. In 2010, Dr. Patrick Sharkey

used Chicago homicide data and cognitive assessment data on hundreds of children aged 5 to 17

from the Project on Human Development in Chicago Neighborhoods to assess the effect of a

single homicide incident located near a student’s home on that student’s vocabulary and reading

skills, using sub-tests of the Wechsler Intelligence Scale for Children and the Wide Range

Achievement Test. For African-American children, a homicide located on their block within one

week of cognitive assessment testing showed (on average) a reduction in performance of 0.5

standard deviations relative to other African-American children living in the same neighborhood

who had not been exposed to a homicide. The children lost .65 standard deviations in their

reading scores when tested within four days of a homicide occurring on their block (whether the

child saw the homicide or not). A separate study of Chicago data referenced by Dr. Sharkey, and

used for comparison, found that a homicide within a child’s census tract occurring within four


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days of cognitive assessment found loss of a full 1.0 in standard deviation on a letter-word test,

as compared with other children from the same neighborhood. Sharkey, “The Acute Effect of

Local Homicides on Children’s Cognitive Performance”, Proceedings of the National Academy

of Sciences, Vol. 107(26): 11733-38 (2010). Dr. Sharkey has demonstrated the same causal

effect between exposure to gun violence and deficits in standardized test scores administered in

the schools of New York City (using time and location), see Sharkey, et al., “High Stakes in the

Classroom, High Stakes on the Street: The Effects of Community Violence on Students’

Standardized Test Performance”, Sociological Science, Vol. 1(3): 199-220 (2014); see also,

Lacoe, et al., “Too Scared to Learn? The Academic Consequences of Feeling Unsafe in the

Classroom”, Urban Education, https://doi.org/10.1177/0042085916674059 (October, 2016),

(tracking 340,000 New York city public school students over successive academic years to find

that in years when students reported feeling unsafe, their standardized test scores declined

significantly).

        35. Dr. Dana Charles McCoy and colleagues studied 602 Chicago children from high-

crime Chicago neighborhoods in 2004 and 2005, and then followed up with them in 2010 and

2011 to study the relationship between their exposure to violent crime (taking place within a half

mile of their home (which they may or may not have witnessed) and within seven days of

testing) and their performance on a neuropsychological assessment which measured their

cognitive performance and selective attention. These researchers found a direct relationship

between exposure to violence and a deficit in neuropsychological functioning, as a result of the

children’s exposure to gun violence. McCoy, et al., “Children’s Cognitive Performance and

Selective Attention Following Recent Community Violence”, Journal of Health and Social

Behavior, Vol. 56(1): 19-36 (2015).


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       36. Gun violence affects everyone in school, even those not exposed. This was

demonstrated by Dr. Julia Burdick-Will, who took five cohorts of Chicago Public School

students (from 2002 to 2010) and examined the relationship between performance on

standardized tests and the level of violence experienced in the school (as determined by Chicago

police locational crime data and survey tools). Many students did not experience gun violence,

but the whole school felt less safe. One standard deviation increase in classmates’ exposure to

neighborhood violence was related to a 0.3 standard deviation decline in both reading and math

scores----which represents 10% of normal student annual growth. Burdick-Will, “Neighborhood

Violence, Peer Effects, and Academic Achievement in Chicago”, Sociology of Education, Vol.

91(3): 205-223 (2018).

       The Plaintiffs’ Exposure to Gun Violence Has Left Them Disabled Under the ADA
                                 The Case of Plaintiff D.P.

       37. D.P. is eight years old and attends a Chicago Public School in the Austin

neighborhood of Chicago, where he lives with his mother, grandmother, and a very young

sibling. His mother works at the U.S. Postal Service and his grandmother works at the Chicago

Transit Authority.

       38. On the night of January 29, 2016, D.P. and his mother were together with his father,

DeMorrow Stephens (age 26). Mr. Stephens lived in the Austin neighborhood near his son and

had been a good father to D.P., who was then just in kindergarten. Mr. Stephens seemed fatalistic

that night, telling D.P. and his mom that: “if I die tonight, I still love my family”. In the early

morning hours of January 30, 2016, D.P and his mother were awakened with news that Mr.

Stephens had been shot in the West Garfield Park neighborhood. D.P.’s mother woke him and

they rushed to the scene, where they saw Mr. Stephens’ body slumped in the driver’s seat of a



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2007 Audi, having been shot in the chest, torso, left thigh and pelvis. The sight of his father was

deeply disturbing to D.P. and he was rushed away. Though deemed a homicide by the coroner

and the police, no one has been charged with his murder.

       39. The killing was devastating to D.P. and his mother. She was off work for three

months and kept D.P. out of school. D.P.’s grandmother cared for both of them, as best she

could. There was no emotional counseling available to the family, and D.P.’s mother and

grandmother did not know what to say or how to explain what had happened to D.P.

       40. D.P. went back to his kindergarten class after a week. His kindergarten teacher,

Raven McGill, had regarded D.P. as a well-behaved and bright young boy, but after his father

was killed, he began yelling in class and having angry outbursts. The teacher and family tried to

respond effectively but could not. For months after the shooting, D.P. repeatedly woke up in

tears because of terrible dreams about his father. He had a great deal of difficulty sleeping. He

was afraid. At school, his behavior deteriorated, and he was physically aggressive with other

students and, at one point, punched and kicked his teacher, requiring him to be sent home. D.P.

would speak about his father at school, once pointing to the clouds and telling his teacher “that’s

where my dad is”, and on another occasion telling the teacher he would be excited “when his dad

comes back”. Beginning with his father’s shooting, D.P. has struggled in school, experiencing

difficulties in learning, reading, thinking and communicating.

       41. Near the end of D.P.’s first year of school, on June 16, 2016, a Chicago Public School

employee (food compliance officer), Denzel Thornton, was shot in the head and killed at 12:30

pm immediately outside D.P.’s school. The students, including D.P., were in the school at the

time, and observed all that went on.

       42. The next year, as D.P. navigated first grade, a well-liked eighth grader at his school


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was shot and killed on March 24, 2017. He was shot on a Saturday by someone in a passing car

just after 3 pm, while on the sidewalk of a playground in the 4900 block of West Hubbard, in the

Austin neighborhood, about eight blocks from D.P.’s home. The eighth grader had been shot the

year before as well, but survived. Everyone at the school, including D.P. and his family, were

devastated.

       43. Gun violence continued unabated in D.P.’s life, as he entered the second grade. At

least one other student at the school was shot during the 2017-18 school year. A shoot-out

directly in front of the school required D.P. and his second grad classmates (whose windows

looked out on the front of the school) to seek cover in his classroom. During the first six months

of 2018 alone, there were three non-fatal shootings and one fatal shooting within a two block

radius of D.P.’s home in the Austin neighborhood. Gun shots can be heard most nights on the

block where he lives. D.P. continues to have difficulties sleeping, concentrating, communicating,

reading and in his school work. He continues to struggle with communication and inter-personal

relationships, both at school and at home.

       44. D.P. is disabled under the ADA, 42 U.S.C. §12102, in that he suffers from a trauma-

induced mental impairment that substantially limits his abilities to sleep, speak, learn, read,

concentrate, think, communicate and participate fully in school.

       45. D.P. continues to reside in the Austin neighborhood of Chicago where gun violence

continues unabated. He remains in his school where killings and gun violence are persistent. His

past and continued exposure to gun violence has impaired his basic life activities and threatens to

make his condition more severe. He is unable to achieve the full benefits of the education

available to him at his Chicago public school.




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                                   The Case of Plaintiff M.R.

       46. M.R. is sixteen years old and currently lives in Oak Park, Illinois with his mother and

a younger sibling. He attends Oak Park-River Forest high school. The family previously lived in

the Austin neighborhood of Chicago, along with M.R.’s older brother, Pierre Reese. Gun

violence was epidemic in their community.

       47. On August 5, 2015, Pierre Reese (then age 27) was shot and killed outside TJ’s

Jamaican Cuisine Restaurant, located at 5604 W. Division Street in the Austin neighborhood of

Chicago. Pierre had gone to the restaurant to eat with a male friend (Dionte). Pierre commented

on the looks of a young woman, but then realized that this person was a man. Pierre apologized

but the young man was offended. He left and returned with his brother. The brother opened fire

on the vehicle in which Pierre and Dionte were sitting. They tried to drive off, but Pierre was hit

in the head by the gun fire and killed. No arrests have been made in the case, despite diligent

cooperation by M.R. and Pierre’s mother and family.

       48. In the aftermath of Pierre’s murder, his family was devastated and particularly M.R.,

who was thirteen at the time of the murder, and very close with his murdered brother, and looked

up to him as a father figure. M.R. responded with rage, seemingly unable to control his emotions.

He could not sleep, communicate about his brother’s death or what was going on in his life. He

cried often and withdrew from family life. He could not concentrate, communicate or participate

meaningfully in school. M.R. received social/emotional support services from the Learn Charter

School in Chicago, where he attended at the time of the shooting. Within several months,

however, M.R.’s mother could no longer cope with the symptoms of his trauma, and placed him

at the Mercy Home in Chicago, to get him out of the neighborhood where his brother was shot

and hopefully to get some help in processing the trauma. M.R. lived at Mercy Home for two


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years. While at Mercy, medical professionals and counseling staff worked continuously with

M.R. to assist him in managing his anger, processing his grief and increasing his ability to

communicate with others. Staff there also worked with M.R. on his capacity to participate in

school. When he arrived, psychological testing showed he was severely compromised in his

competency, problem-solving, and social capacities on account of the trauma he had suffered.

M.R. was withdrawn and depressed as a result of the trauma, and he required medication.

Through two years of medical treatment and individual counseling, as well as group and

individual therapy, M.R. made sufficient progress to return home.

       49. While M.R. lived at Mercy Home, his mother and younger sibling moved to Oak

Park, Illinois. M.R. rejoined the family to begin his freshman year at Oak Park River Forest

(“OPRF”) high school. He receives weekly counseling from one of the social workers at OPRF

on account of the trauma he has suffered. M.R. currently cries often, suffers from a profound

depression, and often is found laying silently on the floor of his bedroom. He continues to take

medication to assist with his inability to sleep. He did not have these problems prior to the loss of

his brother. His brother’s gunshot murder has impaired his basic life activities. He is unable to

achieve the full benefits of the education available to him at his high school, despite the presence

of an individualized education program (“IEP”) and the support of the school social worker.

       50. M.R. is disabled under the ADA, 42 U.S.C. §12102, in that he suffers from a trauma-

induced mental impairment that substantially limits his abilities to sleep, speak, learn, read,

concentrate, think, communicate and participate fully in school.

                                    The Case of Plaintiff J.C.

       51. J.T. is eleven years old and entering the sixth grade. She lives with her mother and

younger siblings in Bellwood, Illinois. Her grandmother, who lives in Chicago, also cares for


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her. Her grandmother, Tywanna Patrick, owns and operates an African beauty and wellness store

at 5823 W. Corcoran Place, in the Austin neighborhood of Chicago. Until recently, J.C. lived in

the Austin neighborhood of Chicago with her mother and grandmother.

       52. On July 6, 2014, Donald Joshua Ray was shot in the head and killed at 5237 W. Lake

Street in the Austin neighborhood of Chicago. He was twenty-one (21) years old, the son of

Tywanna Patrick, and the uncle of J.C. He was killed by young men after Mr. Ray and a friend

came to the assistance of a girl being harassed by a group of young men. The police were called

and the harassment stopped. Shortly thereafter, Mr. Ray and his friend returned to the corner

store near his mother’s store on Corcoran Place in Austin. The group of boys involved in the

altercation were present. One of them pulled a gun and shot through the rear window of Mr.

Ray’s vehicle, hitting Mr. Ray in the head. His friend, with the assistance of his family, and

Chicago police detectives have arrested two young men in connection with the killing. One was

convicted and sentenced to twenty years in prison; the other awaits trial.

       53. J.C. was at her grandmother’s store when the police arrived the night of July 6, 2014

to tell the family of the murder. J.C heard the police explain the killing. Family friends also

arrived who had seen the killing and also described it. J.C. was going into the second grade at the

time and was very close with her uncle. Both J.C. and her mother, and grandmother, were

distraught at hearing this news, and angry. J.C.’s mother was not capable of caring for J.C. and

she was sent to live with her father for a week and a half.

       54. In the immediate months after the shooting, J.C. refused to sleep alone, had trouble

sleeping, engaged in regular conversations with her mother and grandmother about what

happened to her uncle, and was generally unwilling to leave their home, or travel in the Austin

neighborhood. J.C. became clingy and was afraid to go outside. She refused to visit her


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grandmother’s store and did not want to pass anywhere near the scene of the murder. J.C. had

great difficulty in school, with problems concentrating, thinking, learning and communicating.

Her mother removed her from her Chicago public school after the 2014-15 school year, and

home schooled J.C., because of her fears and to prevent her from experiencing any more

violence. Her mother later moved to Bellwood, Illinois to escape the regular gun violence and

danger in the Austin neighborhood. J.C. continues to have problems with her sleep, still dreams

about her uncle, and is very fragile emotionally. She had none of these problems prior to her

uncle’s murder.

        55. J.T. is disabled under the ADA, 42 U.S.C. §12102, in that she suffers from a trauma-

induced mental impairment that substantially limits her abilities to sleep, speak, learn, read,

concentrate, think, communicate and participate fully in school.

                  The State of Illinois Is Responsible for Providing Plaintiffs
                                With a High Quality Education

        56. Under Article X, Section 1 of the Illinois Constitution, the State of Illinois is

responsible for ensuring that the plaintiffs’ ability to participate meaningfully in school is not

compromised by their exposure to gun violence. That provision of the Constitution provides that:

                A fundamental goal of the People of the State of Illinois is the
                educational development of all persons to the limits of their capacities.
                The State shall provide for an efficient system of high quality
                public educational institutions and services. Education in public
                schools shall be free. There may be such other free education as the
                General Assembly provides by law. The State has the primary
                responsibility for financing the system of public education.

While the State of Illinois may delegate part of its responsibilities to local school districts, it

remains the party legally responsible for ensuring the quality of plaintiffs’ education, including

by providing accommodations for their disability, as it relates to their education.



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        57. The State of Illinois, through its Department of State Police has failed to implement

meaningful gun trafficking regulations, despite the authority to do so, and in this failure, has

contributed to the disabling of African-American children in the City of Chicago, continues to do

so, and has failed to provide an accommodation for those already disabled.

                                             CLAIMS

            COUNT I–VIOLATION OF TITLE II OF THE ADA (EDUCATION)

        58. By failing to use the State’s existing regulatory authority to reduce the gun related

violence that impedes the plaintiff children from participating in the State’s program of public

education, the defendants are failing in their duty to make a reasonable accommodation to the

disabled plaintiffs and are thereby violating their rights under Title II of the ADA, 42 U.S.C.

§12132;

        59. As a result of this breach of legal duty, the plaintiff children in these neighborhoods

will have continued or greater difficulty than children in learning, reading, communicating,

thinking and concentrating, and will be excluded from obtaining the full benefit of public

education available to children who are not exposed to such gun violence and are not disabled.

        WHEREFORE, plaintiffs pray that this Court:

        A. Declare that the defendants have violated the rights of the plaintiffs under Title II of

the ADA, 42 U.S.C. §12132, by failing to make a reasonable accommodation to the needs and

disabilities of the plaintiff children.

        B. Enter an injunction requiring that the defendant Illinois Department of State Police

exercise its authority, under applicable state law, to make a reasonable accommodation for the

disabilities and special needs of the plaintiff children, requiring that such accommodation consist

of rules and regulations such as those contained in paragraph 28 above.


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        C. Grant plaintiffs their reasonable attorneys’ fees, costs and such other relief as may be

appropriate.

     COUNT II–VIOLATION OF TITLE II OF THE ADA (LAW ENFORCEMENT)

        60. By failing to use the State’s existing regulatory authority to prevent the illegal

trafficking in guns that expose the plaintiff children to continued or greater limits on their major

life activities, the defendants are failing to make a reasonable accommodation to the special

needs of the plaintiff children in the conduct of the federally assisted law enforcement programs

designed to protect the people of the State.

        61. As a result, by such breach of their legal duty, the defendants have denied the right of

plaintiffs to have the defendants conduct law enforcement with due regard to their disabilities

and special needs. Without cost, the defendants could reduce the level of gun violence to which

the plaintiff children are exposed and thereby reduce the impairment of their life activities, both

now and into their adult years.

        WHEREFORE, plaintiffs pray that this Court:

        A. Declare that the defendants have violated the rights of the plaintiffs under Title II of

the ADA, 42 U.S.C. §12132, by failing to make a reasonable accommodation to the needs and

disabilities of the plaintiff children.

        B. Enter an injunction requiring that the defendant Illinois Department of State Police

exercise its authority, under applicable state law, to make a reasonable accommodation for the

disabilities and special needs of the plaintiff children, requiring that such accommodation consist

of rules and regulations such as those contained in paragraph 28 above.

        C. Grant plaintiffs their reasonable attorneys’ fees, costs and such other relief as may be

appropriate.


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COUNT III–VIOLATION OF THE ILLINOIS CIVIL RIGHTS ACT

       62. Gun violence in Chicago is concentrated in the African-American community and

African-Americans, including the plaintiff children, are primarily the victims of exposure to gun

violence and those disabled by the traumatic effects of gun violence.

       63. The defendants’ failure to issue reasonable gun trafficking regulations in order to

reduce the level of gun violence to which the plaintiff children are exposed, under the authority

granted to the Illinois Department of State Police, has had an adverse effect upon African-

American children, in that they have endured and continue to endure the effects of gun violence,

causing them to become disabled, and preventing them from obtaining a public education.

       64. Under the Firearm Owners Identification Act and otherwise, the defendants have used

methods of administration that permit more illegal guns in African American than white

neighborhoods and such lax methods have subjected the plaintiff children to discrimination on

the basis of their race. Such lax methods serve no legitimate State purpose and deny the benefit

of law enforcement to the children of this State in an unfair and racially disparate manner. The

defendants have no reasonable basis for not adopting reasonable gun trafficking regulations and

preventing the adverse impact of gun violence on African-American children. As such, the

defendants have deprived the plaintiff children of their right to be free of racial discrimination by

the State, in violation of 740 ILCS 23/5(a)(2) of the Illinois Civil Rights Act.

       WHEREFORE, plaintiffs pray that this Court:

       A. Declare that the defendants have violated the rights of the plaintiffs under 740 ILCS

23/5(a)(2), by failing to take reasonable steps to control the gun trafficking that is having an

adverse impact on African-American children.


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        B. Enter an injunction requiring that the defendant Illinois Department of State Police

exercise its authority, under applicable law, to adopt reasonable gun trafficking regulations in

order to reduce the level of gun violence, including rules and regulations such as those contained

in paragraph 28 above, in order to eliminate the adverse racial impact of gun violence on

African-American children.

        C. Grant plaintiffs their reasonable attorneys’ fees, costs and such other relief as may be

appropriate.



Date:    October 3, 2018                  s/ Michael P. Persoon
                                           One of the Attorneys for Plaintiffs




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